851 F.2d 356Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Thomas E. BLANDING, Plaintiff-Appellant,v.William P. ROGERS, Raymond M. Muncy;  James E. Johnson;Bobby W. Soles;  V. Gaglio, Defendants-Appellees.
    No. 88-6010.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 26, 1988.Decided:  July 5, 1988.
    
      Thomas E. Blanding, appellant pro se.
      William W. Muse, Assistant Attorney General (Office of the Attorney General of Virginia), for appellees.
      Before K.K. HALL, JAMES DICKSON PHILLIPS and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Thomas E. Blanding appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Blanding v. Rogers, C/A No. 87-2-L (W.D.Va. Mar. 10, 1988).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    